






In The



Court of Appeals



Ninth District of Texas at Beaumont



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NO. 09-09-00014-CV


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IN RE STATE NATIONAL INSURANCE COMPANY, INC.






Original Proceeding






MEMORANDUM OPINION


	Seeking to compel the trial court to enforce a contractual appraisal provision, State
National Insurance Company, Inc. filed a petition for writ of mandamus in this Court.  See
Tex. R. App. P. 52.  Relator subsequently presented the matter to the successor judge, who
considered the matter and issued a new order.  See Tex. R. App. P. 7.2.  On March 2, 2009,
relator notified the Court that it no longer requests mandamus relief.  Accordingly, we
dismiss this original proceeding without reference to the merits.

	PETITION DISMISSED.

                                                                                       PER CURIAM


Opinion Delivered March 26, 2009

Before McKeithen, C.J., Gaultney and Kreger, J.J. 


